                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:11-00194
                                                   )       JUDGE CAMPBELL
STERLING RIVERS                                    )

                                            ORDER

       The court held a status conference in this case on October 4, 2013. For the reasons stated

on the record, the Pretrial Conference is CONTINUED to October 23, 2013 at 10:30 a.m.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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